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UNITED STATES DISTRICT COURT SZJ"ZS";@S*'B§~§G§”§¥TU
SOUTHERN DISTRICT OF TEXAS F|LED
McALLEN DIVISION JAN 1 6 2018
UNITED STATES OF AMERICA § onJ_ Bradley,
v. § Criminal No.
§ M-18'0074
JOEL SANCHEZ, JR. §
INDICTMENT
THE GRAND JURY CHARGES:
Count One

On or about December 9, 2017, in the Southern Distn`ct of Texas and within the jurisdiction
of the Court, defendant,
JOEL SANCHEZ, JR.
knowing and in reckless disregard of the fact that individuals, who were aliens, had come to,
entered and remained in the United States in violation of law, did knowingly and intentionally
conspire and agree with other persons known and unknown to the Grand Jurors to transport and
move said aliens within the United States in furtherance of such violation of law, that is, from a
location near Penitas, Texas, to another location near Penitas, Texas, by means of a motor vehicle.
In violation of Title 8, United States Code, Sections l324(a)(l)(A)(v)(l), l324(a)(l)(A)(ii),
and l324(a)(l)(B)(i).
Count TWO
On or about December 9, 2017, in the Southern District of Texas and within the jurisdiction
of the Court, defendant,
JOEL SANCHEZ, JR.
knowing and in reckless disregard of the fact that Ana Liliam Rivas-Posada was an alien who had
come to, entered, and remained in the United States in violation of law, did knowingly transport,
move, attempt to transport, and attempt to move said alien within the United States in furtherance

of such violation of law, that is, from a location near Penitas, Texas, to another location near

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Penitas, Texas, by means of a motor vehicle, for the purpose of commercial advantage and private
financial gain.

ln violation of Title 8, United States Code, Sections l324(a)(l)(A)(ii),
1324(a)( l )(A)(v)(ll), and l 324(a)(1)(B)(i).

Count Three

On or about December 9, 2017, in the Southern District of Texas and within the jurisdiction

of the Court, defendant,
JOEL SANCHEZ, JR.

knowing and in reckless disregard of the fact that Selvin Ramon Giron-Miranda was an alien who
had come to, entered, and remained in the United States in violation of law, did knowingly
transport, move, attempt to transport, and attempt to move said alien within the United States in
furtherance of such violation of law, that is, from a location near Penitas, Texas, to another location
near Penitas, Texas, by means of a motor vehicle, for the purpose of commercial advantage and
private financial gain.

ln violation of Title 8, United States Code, Sections l324(a)(l)(A)(ii),
l324(a)(l)(A)(v)(ll), and 1324(a)(l)(B)(i).

A TRUE BILL

 

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FoREPERsol§j
RYAN K. PATRICK
UNITED sTATEs ATToRNEY

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ASSISTANT UNITED STATES ATTORNEY

 

